Case 2:20-cv-00379-MWF-SS Document 31 Filed 03/02/20 Page 1 of 3 Page ID #:461



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  9    Attorneys for Defendants, Christine Alveari and
       Healthy Eats, LLC
 10
                                  UNITED STATES DISTRICT COURT
 11                              CENTRAL DISTRICT OF CALIFORNIA
 12   ROBEKS FRANCHISE CORPORATION,                 )       Case No.: 2:20-CV-00379
                                                    )
 13                 Plaintiff,                              Hon. Michael W. Fitzgerald
                                                    )
      v.
 14                                                 )       DEFENDANTS’ MOTION FOR BRIEF
      CHRISTINE ALVEARI and                         )       EXTENSION OF TIME TO RESPOND TO
 15   HEALTHY EATS, LLC,                            )       PLAINTIFF’S MOTION FOR
                                                    )       PRELIMINARY INJUNCTION.
 16               Defendants.                       )
      _____________________________________)                L.R. 7.1, 8.3
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 18                                                         Response Due: March 2, 2020
                                                            New Response Date: March 6, 2020
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                                                            Action Filed: January 14, 2020
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Case 2:20-cv-00379-MWF-SS Document 31 Filed 03/02/20 Page 2 of 3 Page ID #:462



   1         Defendants, CHRISTINE ALVEARI (“Alveari”) and HEALTHY EATS, LLC (“Healthy
   2   Eats”) (collectively referred to as the “Defendants”), by and through their attorneys of record,
   3   hereby request a brief extension of time in the amount of four (4) days within which to Respond to
   4   Plaintiff’s Complaint and within which to respond to Plaintiff’s Motion for Preliminary Injunction.

   5         This Motion is based on the papers and pleadings on file with this Honorable Court, the
   6   Declaration of counsel attached hereto, and any argument the Court may choose to entertain.
   7         1.       The current deadline within which Defendants are to file their Response to
   8   Plaintiff’s Complaint and their Response to Plaintiff’s Motion for Preliminary Injunction is

   9   Monday, March 2, 2020.
  10         2.       Defendants and counsel for Defendants had intended to have an extensive meeting
  11   together on Friday, February 28, 2020 to draft the factual and legal arguments in response to
  12   Plaintiff’s Motion for Preliminary Injunction and Plaintiff’s Complaint.
  13         3.       Unfortunately, on February 28, 2020, the mother of Defendant Alveari was in an
  14   accident that caused her to be rushed to the hospital where she was diagnosed with a concussion
  15   and vertigo. Due to this family emergency, Defendant Alveari, who is the principal of Defendant
  16   Healthy Eats, was unable to meet with counsel to finalize the aforementioned responses.
  17         4.       Due to the foregoing family emergency, Defendants and counsel for Defendants
  18   intend to meet together today or tomorrow to finalize Defendants’ Response to Plaintiff’s Motion
  19   for Preliminary Injunction and Defendants’ Response to Plaintiff’s Complaint.
  20         5.       Defendants therefore request a four (4) day brief extension of time, through and
  21   including Friday, March 6, 2020, within which to file their Response to Plaintiff’s Motion for
  22   Preliminary Injunction and Defendants’ Response to Plaintiff’s Complaint.
  23         6.       This motion is made in good faith and not for the purposes of delay.
  24         7.       Plaintiff will not be prejudiced by the Court granting the brief extension of time
  25   sought within this Motion.
  26         WHEREFORE, Defendants respectfully request that this Court grant Defendant’s Motion for
  27   Brief Extension of Time, extending the time within which Defendants are required to respond to
                                                       2
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                                                                    Defendants’ Motion For Brief Extension Of Time
                                                                                          Case No.: 2:20-CV-00379
Case 2:20-cv-00379-MWF-SS Document 31 Filed 03/02/20 Page 3 of 3 Page ID #:463



   1   Plaintiff’s Complaint and Plaintiff’s Motion for Preliminary Injunction by four (4) days, through
   2   and including Friday, March 6, 2020 and granting such other or further relief as is just and proper.
   3                        CERTIFICATE OF GOOD FAITH CONFERENCE
   4         I hereby certify that the undersigned counsel has conferred with all parties or non-parties who

   5   may be affected by the relief sought in this motion in a good faith effort to resolve the issues raised
   6   in this Motion and was informed that Plaintiff does not agree to the relief sought herein.
   7         DATED: March 2, 2020                     HIRZEL DREYFUSS & DEMPSEY, PLLC
   8

   9                                                  By: _________________________
  10                                                         Patrick G. Dempsey, Esq.
  11                                                         Counsel for Defendants
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                                                                       Defendants’ Motion For Brief Extension Of Time
                                                                                             Case No.: 2:20-CV-00379
